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      Confirmed Chapter 11 Liquidating Plan
  9
 10                             UNITED STATES BANKRUPTCY COURT
 11                              CENTRAL DISTRICT OF CALIFORNIA
 12                                     NORTHERN DIVISION
 13
 14   In re:                                      Case No. 9:16-bk-11912-DS

 15   CHANNEL TECHNOLOGIES GROUP,                 Adv. Case No. _________
      LLC,
                                                  Chapter 11 Proceeding
 16                Debtor.
                                                  COMPLAINT TO AVOID AND RECOVER
 17                                               PREFERENTIAL TRANSFERS OF
      CORPORATE RECOVERY                          PROPERTY
 18
      ASSOCIATES, LLC, as Liquidating Trustee
                                               [11 U.S.C. §§ 547, 550 and 551]
 19   appointed under the confirmed Chapter 11
      plan of Channel Technologies Group, LLC, STATUS CONFERENCE
 20                                            DATE:        [To Be Set by Summons]
                    Plaintiff,                 TIME:        [To Be Set by Summons]
 21           v.                               PLACE:       Courtroom 201
                                                            United States Bankruptcy Court
 22   LYNN CHEN,
                                                            1415 State Street
 23                 Defendant.                              Santa Barbara, CA 93101

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                                                                 MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
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  1              Corporate Recovery Associates, LLC, solely in its capacity as the liquidating trustee
  2   (“Liquidating Trustee” or “Plaintiff”) appointed under the confirmed Chapter 11 Liquidating Plan
  3   (as modified, “Plan”) of Debtor Channel Technologies Group, LLC (“Debtor”), for its complaint
  4   (the “Complaint”) against Defendant Lynn Chen (“Defendant”), alleges upon information and
  5   belief as follows:
  6                                                                I.
  7                                STATEMENT OF JURISDICTION AND VENUE
  8              1.       The Debtor filed a petition under Chapter 11 of Title 11 of the United States Code
  9   on October 14, 2016 (the “Petition Date”), initiating In re Channel Technologies Group, LLC, Case
 10   No. 9:16-bk-11912-DS (the “Bankruptcy Case”).
 11              2.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
 12   §§157 and 1334 and Article IX of the Plan.
 13              3.       This adversary proceeding is a core proceeding under, inter alia, 28 U.S.C.
 14   §157(b)(2).
 15              4.       This adversary proceeding is a civil proceeding arising in and related to the
 16   Bankruptcy Case, and such case is pending before this Court. Accordingly, venue in this Court is
 17   proper under 28 U.S.C. § 1409(a).
 18                                                               II.
 19                                           PROCEDURAL BACKGROUND
 20              5.       On March 2, 2018, the Court entered the Order Confirming Chapter 11 Liquidating
 21   Plan (“Confirmation Order”) [Docket No. 473], which, among other things, confirmed the Plan. 1
 22              6.       The Plan provides, among other things, for the establishment of a liquidating trust
 23   (“Liquidating Trust”) and the appointment of the Liquidating Trustee as trustee of the Liquidating
 24   Trust.
 25              7.       The Liquidating Trust is established for the purpose of, among other things,
 26
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          Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Plan.
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  1   administering, investigating, prosecuting, settling and abandoning any and all manner of causes of
  2   action, claims, obligations, suits, debts, judgments, demands, rights of offset or recoupment,
  3   damages (actual, compensatory or punitive), counterclaims or affirmative defenses, whatsoever,
  4   whether in law or in equity of the Debtor and the Debtor’s bankruptcy estate, including, but not
  5   limited to, (i) any claim or right under the following: 11 U.S.C. §§ 544, 545, 547, 548, 549, 550,
  6   551 and 553(b); all prevailing fraudulent conveyance and fraudulent transfer laws; all non-
  7   bankruptcy laws vesting in creditors’ rights to avoid, rescind, or recover on account of transfers,
  8   including, but not limited to, claims relating to illegal dividends; all preference laws; the Uniform
  9   Fraudulent Transfer Act; and California Civil Code sections 3439 and 3440, et seq. and (ii) any
 10   and all claims (if any) against former managers, officers, directors, employees and/or agents of the
 11   Debtor, except as otherwise set forth in the Plan (collectively, “Causes of Action”).
 12           8.     Therefore, pursuant to the Confirmation Order and the Plan, the Liquidating Trustee
 13   was granted requisite standing and authority to prosecute and pursue Causes of Action.
 14           9.     On April 2, 2018, the Liquidating Trustee filed the Notice of: (1) Occurrence of
 15   Effective Date of Chapter 11 Liquidating Plan, and (2) Deadlines for Filing Certain Claims and
 16   Requests for Payment [Docket No. 547], pursuant to which the Liquidating Trustee gave notice
 17   that the Effective Date of the Plan had occurred on April 2, 2018.
 18           10.    Pursuant to the Plan, the Liquidating Trustee was appointed as of the Effective
 19   Date.
 20                                                    III.
 21                                                 PARTIES
 22           11.    Pursuant to the Plan, the Plaintiff is authorized to prosecute and resolve Causes of
 23   Action on behalf of the Debtor’s estate.
 24           12.    The Defendant Lynn Chen is an individual, the former Chief Financial Officer of
 25   the Debtor, and a resident of the State of California.
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  1                                                    IV.
  2                                     GENERAL ALLEGATIONS
  3          13.     On or about May 29, 2015, the Defendant was employed by the Debtor as Chief
  4   Financial Officer pursuant to that certain Offer of Employment Letter Agreement, executed by and
  5   between the Debtor and the Defendant (“Employment Agreement”), which provided, among other
  6   things, for severance payments to the Defendant upon the Debtor’s termination of the Defendant’s
  7   employment.
  8          14.     On or about February 17, 2016, the Debtor and the Defendant entered into that
  9   certain Severance Agreement and General Release (“Severance Agreement”), which provided for,
 10   among other things, the termination of the Defendant's employment as of February 15, 2018 and
 11   the modification of the terms of the Defendant’s severance payments.
 12          15.     On or about March 4, 2016, the Debtor made a transfer of an interest in the Debtor’s
 13   property to or for the benefit of the Defendant through the payment to the Defendant of a severance
 14   payment in the amount of $10,185.66 (“March 4 Transfer”), pursuant to the terms of the
 15   Employment Agreement and the Severance Agreement.
 16          16.     On or about March 18, 2016, the Debtor made a transfer of an interest in the
 17   Debtor’s property to or for the benefit of the Defendant through the payment to the Defendant of a
 18   severance payment in the amount of $193,527.63 (“March 18 Transfer” and, together with the
 19   March 4 Payment, the “Preferential Transfers”), pursuant to the terms of the Employment
 20   Agreement and the Severance Agreement.
 21          17.     Each of the Preferential Transfers was made within one (1) year prior to the Petition
 22   Date (“Preference Period”).
 23          18.     The Defendant, as Chief Financial Officer, was an insider of the Debtor, as such
 24   term in defined in 11 U.S.C. §101(31), when each of the Preferential Transfers were made.
 25          19.     During the course of this adversary proceeding, Plaintiff may learn (through
 26   discovery or otherwise) of additional transfers made to Defendant during the Preference Period.
 27   Plaintiff intends to avoid and recover all transfers made by the Debtor of an interest of the Debtor
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  1   in property and to or for the benefit of Defendant. The Plaintiff reserves its right to amend this
  2   original Complaint to include: (i) further information regarding the Preferential Transfers(s), (ii)
  3   additional transfers, (iii) modifications of and/or revision to Defendant’s name, (iv) additional
  4   defendants, and/or (v) additional causes of action authorized by the Plan (collectively, the
  5   “Amendments”), that may become known to Plaintiff at any time during this adversary proceeding,
  6   through formal discovery or otherwise, and for the Amendments to relate back to this original
  7   Complaint.
  8                                                     V.
  9                                      FIRST CLAIM FOR RELIEF
 10                   (To Avoid Preferential Transfers Pursuant to 11 U.S.C. § 547)
 11          20.     The Plaintiff realleges and incorporates by reference the foregoing paragraphs, as
 12   though fully set forth herein.
 13          21.     The Preferential Transfers were made from property of the Debtor.
 14          22.     The Defendant, as Chief Financial Officer of the Debtor, was an “insider” of the
 15   Debtor, as that term is defined in 11 U.S.C. § 101(31), when the Employment Agreement and the
 16   Severance Agreement were entered into and when the Transfers were made.
 17          23.     The Preferential Transfers were made within one (1) year of the Petition Date.
 18          24.     The Preferential Transfers were made to or for the benefit of the Defendant.
 19          25.     The Defendant was a creditor of the Debtor at the time of the Preferential Transfers
 20   within the meaning of 11 U.S.C. § 101(10)(A). At the time of the Preferential Transfers, the
 21   Defendant had a right to payment on account of an obligation owed to Defendant by the Debtor.
 22          26.     Each of the Preferential Transfers was made on account of an antecedent debt owed
 23   by the Debtor to the Defendant before the Preferential Transfers were made. The Preferential
 24   Transfers were each made on account of a debt obligation for which the Debtor was legally bound
 25   to pay to the Defendant pursuant to the terms of the Employment Agreement and the Severance
 26   Agreement.
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  1          27.     The Preferential Transfers were to or for the benefit of a creditor within the
  2   meaning of 11 U.S.C. § 547(b)(1) because the Preferential Transfers either reduced or fully
  3   satisfied a debt then owed by the Debtor to the Defendant.
  4          28.     The Debtor was insolvent at the time of the Preferential Transfers in that the sum of
  5   its debts was greater than the fair value of its assets, within the meaning of 11 U.S.C. § 101(32)(A)
  6   and 11 U.S.C. § 547(b)(3).
  7          29.     By reason of the Preferential Transfers, the Defendant received more on account of
  8   her claim than the Defendant would receive if this case were a case under Chapter 7 of the
  9   Bankruptcy Code, the Preferential Transfers had not been made, and the Defendant received
 10   payment of such debt to the extent provided by the provisions of the Bankruptcy Code.
 11          30.     As of the date hereof, the Defendant has not returned any of the Preferential
 12   Transfers to the Debtor.
 13          31.     The Plaintiff is entitled to an order and judgment pursuant to 11 U.S.C. § 547 that
 14   avoids the Preferential Transfers.
 15                                                    VI.
 16                                    SECOND CLAIM FOR RELIEF
 17                              (To Recover Avoided Transfers from Defendant
 18                       for the Benefit of the Estate Pursuant to 11 U.S.C. § 550)
 19          32.     The Plaintiff realleges and incorporates by reference the foregoing paragraphs, as
 20   though fully set forth herein.
 21          33.     The Defendant was the initial transferee of each of the Preferential Transfers or the
 22   immediate or mediate transferee of such initial transferee or the person for whose benefit the
 23   Preferential Transfers were made.
 24          34.     Pursuant to 11 U.S.C. § 550(a), the Plaintiff is entitled to recover from Defendant
 25   the Preferential Transfers or the value of such Preferential Transfers.
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  1                                                   VII.
  2                                     THIRD CLAIM FOR RELIEF
  3                              (To Preserve Preferential Transfers for the
  4                          Benefit of the Estate Pursuant to 11 U.S.C. § 551)
  5          35.     The Plaintiff realleges and incorporates by reference the foregoing paragraphs, as
  6   though fully set forth herein.
  7          36.     Pursuant to 11 U.S.C. § 551, the Preferential Transfers are preserved for the benefit
  8   of the estate as the Preferential Transfers are avoidable under 11 U.S.C. § 547 as set forth
  9   hereinabove.
 10                                                   VIII.
 11                                        PRAYER FOR RELIEF
 12          WHEREFORE, the Plaintiff prays that this Court enter judgment in favor of the Plaintiff
 13   and against the Defendant as follows:
 14          A.      Pursuant to the First Claim for Relief, enter judgment in favor of the Plaintiff and
 15   against the Defendant under 11 U.S.C. § 547 to avoid the Preferential Transfers in an amount not
 16   less than $203,713.29;
 17          B.      Pursuant to the Second Claim for Relief, enter judgment in favor of the Plaintiff and
 18   against the Defendant under 11 U.S.C. § 550 to recover the Preferential Transfers or the value
 19   thereof;
 20          C.      Pursuant to the Third Claim for Relief, enter judgment in favor of the Plaintiff and
 21   against the Defendant under 11 U.S.C. § 551 to preserve for the benefit of the estate the
 22   Preferential Transfers in an amount not less than $203,713.29;
 23          D.      Award the Plaintiff prejudgment interest at the legally allowed applicable rate;
 24          E.      Award the Plaintiff costs, and expenses of suit herein; and
 25          ///
 26          ///
 27          ///
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  1          F.      Grant the Plaintiff such other and further relief the Court deems just and
  2   appropriate.
  3   Dated: October 12, 2018                      WINTHROP COUCHOT
                                                   GOLUBOW HOLLANDER, LLP
  4
  5
                                                   By: /s/ Andrew B. Levin
  6                                                        Robert E. Opera
                                                           Richard H. Golubow
  7                                                        Andrew B. Levin
                                                   Counsel for Liquidating Trustee Appointed under
  8                                                Confirmed Chapter 11 Liquidating Plan
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